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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

     Criminal Case No. 22-cr-00113-CMA-GPG

     UNITED STATES OF AMERICA,

                   Plaintiff,

     v.

     1.     DEBRA CAMPBELL,

                Defendant.
     _____________________________________________________________________

      UNITED STATES’ MOTION FOR PRELIMINARY ORDER OF FORFEITURE FOR A
       PERSONAL MONEY JUDGMENT AGAINST DEFENDANT DEBRA CAMPBELL
     ______________________________________________________________________

            COMES NOW the United States of America, by and through United States

     Attorney Cole Finegan and Assistant United States Attorney Laura B. Hurd, and moves

     this Court to enter a Preliminary Order of Forfeiture for a Personal Money Judgment. In

     support, the United States sets forth the following:

I.          Statement of Facts

            1.     On April 4, 2022, an Information was filed charging Defendant Debra

     Campbell in Count One, with Wire Fraud, in violation of 18 U.S.C. § 1343; and in Count

     Two, with Subscribing a False Tax Return, in violation of 26 U.S.C. § 7206(1). (ECF Doc.

     1).

            2.     The Information also included a forfeiture allegation, providing notice that

     the United States sought forfeiture, pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C.

     § 2461(c), of any property constituting and derived from any proceeds obtained directly

     and indirectly as a result of Count One, including a money judgment in the amount of the

     proceeds obtained by the scheme and by the Defendant. Id. at 4.
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         3.      On May 27, 2022, the United States and Defendant Debra Campbell

  entered into a Plea Agreement. (ECF Doc. 10). The Plea Agreement provides, inter alia,

  that the Defendant agreed to plead guilty to Counts One and Two. The Defendant also

  agreed to the entry of a preliminary order of forfeiture for a personal money judgment

  described above.       Specifically, the Defendant agreed that $252,069.00 constituted

  proceeds obtained as result of Count One. Id. at 5.

         4.      Accordingly, the Plea Agreement provides an ample basis for an order of

  forfeiture pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c).

II.      Argument

         5.      Pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), the Court

  shall order criminal forfeiture of all property constituting or derived from proceeds

  traceable to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c). 1

         6.      Pursuant to Rule 32.2(b)(1)(A) of the Federal Rules of Criminal Procedure,

  the Court must determine what property is subject to forfeiture as soon as practicable

  after a plea of guilty. When a personal money judgment is sought, “the court must

  determine the amount of money the defendant will be ordered to pay.” Fed. R. Crim. P.

  32.2(b)(1)(A).

         7.      The Court’s determination may be based on any plea agreement, any other

  evidence already in the record, and any other additional evidence submitted by the parties

  that the Court deems relevant and reliable. Fed. R. Crim. P. 32.2(b)(1)(B).


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    Title 28, United States Code, Section 2461(c) provides for the criminal forfeiture of any
  property that may be forfeited civilly. Title 18, United States Code, Section 981(a)(1)(C)
  provides for the forfeiture of any property constituting or derived from proceeds traceable to a
  “specified unlawful activity” as defined in 18 U.S.C. § 1956(c)(7). In turn, 18 U.S.C. § 1956(c)(7)
  includes any offense listed in 18 U.S.C. § 1961(1) as a “specified unlawful activity.” Title 18,
  United States Code, Section 1343 is listed in 18 U.S.C. § 1961.
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       8.      Once the property is determined to be subject to forfeiture, the Court “must

promptly enter a preliminary order of forfeiture setting forth the amount of any money

judgment.” Fed. R. Crim. P. 32.2(b)(2)(A). It is mandatory that the Preliminary Order of

Forfeiture is entered “sufficiently in advance of sentencing to allow the parties to suggest

revisions or modifications before the order becomes final as to the defendant.” Fed. R.

Crim. P. 32.2(b)(2)(B).

       9.      As set forth in the Plea Agreement, Defendant Debra Campbell and the

United States agree that she owned A Better Alternative Management (ABAM). ABAM

was hired by Homeowners Associations (HOAs) to manage their finances for a monthly

fee. As a result, the Defendant had access to, and signatory authority over, HOA’s bank

accounts. In March 2015, the Defendant began making unauthorized transfers to ABAM’s

bank accounts and used the funds for personal expenses. Between March 2015 and April

2018, Defendant stole $252,069.00 from her client HOAs through a scheme to defraud.

See (ECF Doc. 10 at p. 8-11).

       10.     Accordingly, a forfeiture money judgment in the amount of $252,069.00

should be entered against the Defendant pursuant to 18 U.S.C. § 981(a)(1)(C) and 28

U.S.C. § 2461(c).

       WHEREFORE, the United States moves this Court to enter the Preliminary Order

of Forfeiture for a Personal Money Judgment tendered herewith, for the reasons set

forth above.

               DATED this 7th day of November 2022.


                                                 Respectfully submitted,

                                                 COLE FINEGAN
                                                 United States Attorney
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                                         By:   s/ Laura B. Hurd
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                             CERTIFICATE OF SERVICE

       I hereby certify that on this 7th day of November 2022, I electronically filed the
foregoing with the Clerk of Court using the ECF system, which will send notice to all
counsel of record.

                                               s/ Sheri Gidan
                                               FSA Federal Paralegal
                                               Office of the U.S. Attorney




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